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UNITED STATES DISTRICT COURT                                       ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                      DOC #: _________________
 ------------------------------------------------------X                         May 8, 2017
                                                                   DATE FILED: ______________
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 KEYU LONG,                                            :
                                                       :
                                      Plaintiff,       :    17 Civ. 2613 (KPF)
                                                       :
                       v.                              :          ORDER
                                                       :
 AMWAY CORP.,                                          :
                                                       :
                                      Defendant. :
                                                       :
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KATHERINE POLK FAILLA, District Judge:

       The Court is in receipt of Defendant’s letter motion requesting a pre-

motion conference regarding Defendant’s contemplated motion to compel

arbitration in this action (Dkt. #9), and Plaintiff’s letter in opposition thereto

(Dkt. #12). Defendant’s request is GRANTED; the parties are directed to

appear for a pre-motion conference on May 23, 2017, at 3:30 PM in Room 618

of the Thurgood Marshall Courthouse. The Clerk of Court is directed to

terminate the motion pending at Docket Entry #9.

       SO ORDERED.

Dated:        May 8, 2017
              New York, New York                    __________________________________
                                                         KATHERINE POLK FAILLA
                                                        United States District Judge
